            Case 3:18-cv-02235-CRB Document 2 Filed 04/13/18 Page 1 of 1




     Annie S. Wang (CA SBN 243027)
     annie@wangalc.com
2    J. Andrew Coombs, Of Counsel (CA SBN 123881)
     andy@wangalc.com
3    Wang Law Corporation
     1150 Foothill Boulevard, Suite E
4    La Canada Flintridge, California 91011
     Telephone:     (818) 500-3200
5    Facsimile:     (818) 500-3201
6    Attorneys for Plaintiffs
     Sanrio Co. Ltd. and Sanrio, Inc.
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8                                                   UNITED STATES DISTRICT COURT
9                                               NORTHERN DISTRICT OF CALIFORNIA
10                                                                                     )
     Sanrio Co. Ltd. and Sanrio, Inc.,                                                 )     Case No.
11
                                                                                       )
                                          Plaintiffs,                                  )     PLAINTIFFS' CERTIFICATION
                                                                                                           N           OF
12              V.                                                                           INTERESTED E TITIES OR PERSONS
                                                                                       )
                                                      )
13   ooShirts Inc., Little Raymond's Print Shop Inc., )
     Raymond Lei, and Does 1 through 10,              )
14   inclusive,                                       )
                                                      )
15                            Defendants.             )
16
     _______________)
17              Pursuant to Civil L.R. 3-15, the undersigned certifies that the following listed entity may
18   have a financial interest in the subject matter in controversy or in a party to the proceeding:

19
                1. Farmers Insurance, Insurance Carrier for Defendant(s)

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     DATED: April 13, 2018                                                      Wang Law C        oration
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22                                                                              By:          �            �
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23                                                                                     J. Andre� mbs, Of Counsel
                                                                                Attorneys for Plaintiffs Sanrio Co. Ltd. and Sanrio, Inc.
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     Sanrio v. ooShirts Inc., et al.: Certification of Interested Entities or         -1 -
     Persons
